Case 4:19-cv-01612 Document 1-3 Filed on 05/02/19 in TXSD Page 1 of 27




     EXHIBIT C




                                                                  Exhibit C
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                                                                                                                    By: Iris Collins
                                                                                                        Filed: 4/24/2019 8:52 AM

                                                   CAUSE NO. 201921602

  KENNETH R. MALONOWSKI,                                            IN THE DISTRICT COURT

        Plaintiff,

  vs.                                                               190TH JUDICIAL DISTRICT




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  ALLSTATE FIRE AND CASUALTY
  INSURANCE COMPANY AND




                                                                                   tC
  JEFFREY LANSING,                                                  HARRIS COUNTY, TEXAS




                                                                               ric
        Defendants.




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ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY’S ORIGINAL ANSWER
                   AND REQUEST FOR DISCLOSURE




                                                                        es
TO THE HONORABLE JUDGE OF SAID COURT:


                                                                     rg
          COMES NOW ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY,  Bu
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Defendant in the above styled and numbered cause of action, and in response to the complaints
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filed against it, would respectfully show unto this Honorable Court and Jury as follows:
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                                                              I.
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                                                    GENERAL DENIAL
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          At this time, Defendant asserts a general denial to Plaintiff’s Original Petition and all
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amended and/or supplemental petitions, as authorized by Rule 92, Texas Rules of Civil
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Procedure, and respectfully requests the Court and jury to require Plaintiff to prove the claims,
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charges and allegations, by a preponderance of the evidence, as required by the Constitution and
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the laws of the State of Texas.
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                                                           II.

          Defendant hereby gives notice that it intends to rely upon such other defenses as may become

available or apparent during the course of discovery and thus reserves its right to amend this answer.

                                                          III.


Malinowski vs. Allstate, et al.                                                                         Page 1 of 4
Defendant’s Original Answer and Request for Disclosure
0468351408.1
     Case 4:19-cv-01612 Document 1-3 Filed on 05/02/19 in TXSD Page 13 of 27



          Pursuant to Texas Rules of Civil Procedure, Defendant requests that Plaintiff disclose

within thirty days of service of this request, the information and material described in Rule

194.2(a) through (l). If this case was filed as an Expedited Action under TRCP 47(c)(1) and/or

TRCP 190.2, Defendant further requests disclosure of any and all documents, electronic




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information, and tangible items that you have in your possession, custody or control and which




                                                                               tC
may be used to support your claims or defenses.




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                                                          IV.




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          Defendant, Allstate Fire and Casualty Insurance Company, formally requests a jury trial




                                                                     es
pursuant to Rule 216 of the Texas Rules of Civil Procedure and tenders the jury fee.



                                                                 rg
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                                DESIGNATED E-SERVICE EMAIL ADDRESS
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          The following is the undersigned attorney’s designation of electronic service email
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address for all electronically served documents and notices, filed and unfiled, pursuant to
                                                     of




Tex.R.Civ.P. 21(f)(2) & 21(a). (HoustonLegal@allstate.com). This is the undersigned’s ONLY
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electronic service email address, and service through any other email address will be considered
                                       O




invalid.
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          WHEREFORE, PREMISES CONSIDERED, Defendant, Allstate Fire and Casualty
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Insurance Company, prays that the Plaintiff recover nothing of and from the Defendant by reason of this
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suit, that Defendant be discharged without delay, with costs of court, and for such other and further relief,
            of




both general and special, at law and in equity, to which Defendant may show itself justly entitled, and for
          Un




which Defendant will in duty bound, forever pray.




Malinowski vs. Allstate, et al.                                                                     Page 2 of 4
Defendant’s Original Answer and Request for Disclosure
0468351408.1
     Case 4:19-cv-01612 Document 1-3 Filed on 05/02/19 in TXSD Page 14 of 27



                                                               Respectfully submitted,

                                                               SUSAN L. FLORENCE & ASSOCIATES




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                                                               KIMBERLY BLUM




                                                                                  tC
                                                               TBN: 24092148




                                                                              ric
                                                               811 Louisiana St Ste 2400
                                                               Houston, TX 77002-1401




                                                                           ist
                                                               HoustonLegal@allstate.com




                                                                        sD
                                                               (713) 336-2812
                                                               (877) 684-4165 (fax)




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                                                               ATTORNEY FOR DEFENDANT
                                                               ALLSTATE FIRE AND CASUALTY
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                                                               INSURANCE COMPANY
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Malinowski vs. Allstate, et al.                                                             Page 3 of 4
Defendant’s Original Answer and Request for Disclosure
0468351408.1
     Case 4:19-cv-01612 Document 1-3 Filed on 05/02/19 in TXSD Page 15 of 27



                                             CERTIFICATE OF SERVICE

          Pursuant to Rules 21. and 21a. of the Texas Rules of Civil Procedure, I hereby certify that the

original of Defendant’s Original Answer has been filed with the clerk of the court in writing, and a true

and correct copy of Defendant’s Original Answer has been delivered to all interested parties on the 24th




                                                                                      k
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day of April, 2019, to:




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Attorneys for Plaintiff, Malinowski




                                                                            ric
Sean H. McCarthy, Esq.




                                                                         ist
Williams Kherkher Hart Boundas, LLP




                                                                      sD
8441 Gulf Fwy Ste 600
Houston TX 77017




                                                                   es
Andrew C. Cook, Esq.


                                                                 rg
The Cook Law Firm, PLLC
8441 Gulf Fwy Sixth Flr                                        Bu
Houston TX 77017                                               VIA E-SERVE
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Malinowski vs. Allstate, et al.                                                                 Page 4 of 4
Defendant’s Original Answer and Request for Disclosure
0468351408.1
                  Case 4:19-cv-01612 Document 1-3 Filed on 05/02/19 in TXSD Page 16 of 27                                                    4/30/2019 10:22 AM
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                                                        190th Judicial District
                                                       of Harris County, Texas




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 Plaintiff                                                                                                        Cause #




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                                                    KENNETH R. MALINOWSKI
                                                                                                                                 201921602




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                     ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY; JEFFREY LANSING
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                        INTERROGATORIES, REQUESTS FOR PRODUCTION AND REQUESTS FOR




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I am certified under order of the Judicial Branch Certification Commission to serve process, including citations in Texas. I
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am not a party to or interested in the outcome of this lawsuit. My information: identification number, birth date, address,
and certification expiration date appear below. I received and delivered the Specified Documents to Defendant as stated
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On 4/27/2019 at 7:11 PM: I served CITATION, PLAINTIFF'S ORIGINAL PETITION, PLAINTIFF'S FIRST SET OF
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LANSING by delivering 1 true and correct copy(ies) thereof, with JEFFREY LANSING, Who accepted service, with
identity confirmed by subject saying yes when named, a brown-haired white male approx. 45-55 years of age, 6'2"
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-6'6" tall and weighing 180-200 lbs with glasses at 131 SAGUARO DR, BUDA, TX 78610.
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My name is: Peter Dowdle. My date of birth is: 5/13/1977
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My address is: 7605 Bender Drive, Austin, TX 78749, USA.
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My process server identification # is: PSC000009210. My Certification expires: 9/30/2020.
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I declare under penalty of perjury that the foregoing, RETURN OF SERVICE, is true and correct.
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                          Peter Dowdle                                                                           Date Executed




 Ref 239160 Malinowski                                                                                           Tracking # 0036497360
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am not a party to or interested in the outcome of this lawsuit. My information: identification number, birth date, address,
and certification expiration date appear below. I received and delivered the Specified Documents to Defendant as stated
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INTERROGATORIES and REQUESTS FOR PRODUCTION AND REQUESTS FOR ADMISSIONS upon ALLSTATE
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FIRE AND CASUALTY INSURANCE COMPANY c/o CT CORPORATION SYSTEM, REGISTERED AGENT by
delivering 1 true and correct copy(ies) thereof, with ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY c/o CT
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CORPORATION SYSTEM, REGISTERED AGENT, Who accepted service, with identity confirmed by subject
stating their name, a black-haired Hispanic female approx. 18-25 years of age, 5'-5'4" tall and weighing 120-140
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lbs with glasses at 1999 BRYAN STREET SUITE 900, DALLAS, TX 75201.
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My name is: Michael Jackson. My date of birth is: 8/23/1963
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My address is: 2933 Mayfair Ln., Lancaster, TX 75134, USA.
My process server identification # is: PSC9897. My Certification expires: 12/31/2020.
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I declare under penalty of perjury that the foregoing, RETURN OF SERVICE, is true and correct.
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                        Dallas
Executed in _________________ county, TX.
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                                                                                                       April 04, 2019
                       Michael Jackson                                                                           Date Executed




 Ref 239160 Malinowski                                                                                           Tracking # 0035432654
              0035343131                                                                The Cook Law Firm PLLC
